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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

)
UNITED STATES OF AMERICA )
)

V. ) No. l6-10305-NMG
)
MARTIN GOTTESFELD, )
)
)
Defendant )

DEFENDANT'S lV|OT|ON TO EXTEND TIME TO
FlLE SUPPLEMENTARY MOT|ON TO SUPPRESS

Defendant Martin Gottesfeld hereby moves this Honorable Court for an order extending
the date by which he is to file a supplementary motion to suppress the search warrant herein from
February 15 to March 12, 2018.

As reason therefore, undersigned counsel states that he has encountered extreme
difficulty in identifying a qualified expert witness to review and analyze the extensive traffic
captured from his various computers by the government’s use of the pen register and trap & trace
devices herein. Speciflcally, only aRer 14.5 hours searching for and communicating with
potentially qualified expert witnesses and 10 hours researching relevant case law and technical
information has he been able to identify and confirm an expert to perform the necessary review
and analysis. Most of the approximately 15 candidates I contacted did not have the necessary
skills to perform the required review notwithstanding that they all billed themselves as experts in

computer forensics and analysis. The search was narrowed down to those with Cisco Certified

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